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                                         Declaration of Bill Ong Hing

      I, Bill Ong Hing, declare under penalty of perjury that the following is true and correct to the best of my
knowledge and recollection.
   1. My name is Bill Ong Hing. I am a Professor of Law and Migration Studies at the University of San
      Francisco. I have been an immigration lawyer since 1974. In addition to being a fulltime faculty member
      at the University of San Francisco, over the course of my career, I have been a fulltime faculty member
      at the University of California, Davis (where I am Professor of Law Emeritus), and Stanford Law
      School, where I directed an immigration clinic. I am the founder of the Immigrant Legal Resource
      Center in San Francisco. I am the author of numerous books and academic articles on immigration law
      and procedure.

   2. On June 17, 18, and 19, 2019, I served as part of a Flores inspection team that interviewed detainees at
      the CBP facility located in Clint, Texas. Over the course of three days, I prepared twelve declarations on
      behalf of about twenty individuals, ranging in age from five months to 18 years. This included several
      teenage mothers with infants and sets of siblings, in addition to individual children who were ages 5 and
      8 years. All of my interviews were conducted in person in a private room. Everyone I interviewed had
      been at this facility for at least nine days. Most had been in the facility for more than twelve days, and
      some for seventeen to twenty days.

   3. Two of the nursing mothers wore shirts that were stained. The stains were located in the breast area.
      Although all the mothers indicated that they received three meals per day, the meals did not contain
      fruits or vegetables. No milk was ever given to the mothers to drink. Two different infants had recently
      been hospitalized offsite for a few days after contracting the flu—fever, chills, vomiting, diarrhea.

   4. Several of the younger children I interviewed were unbathed and wore dirty clothes. Some did not have
      socks. Their hair was dirty. One five year old boy that I interviewed was sick. He had a runny nose and
      coughed. He said that he had not seen a doctor. I reported this to a CBP officer and she told me that the
      boy would be seen by a doctor “tomorrow.” Some girls reported that they felt unsafe going to the
      bathroom. Many reported that they were not given sufficient food to eat and that they were often hungry.
      I interviewed one 13-year-old boy who had the flu and another 17-year-old boy who was getting over
      the flu. They both contracted the flu while at the CBP facility. They both felt that they caught the flu
      because they were in cramped quarters where other people were coughing or sick.

   5. The inspection team was not permitted to inspect the facility itself. All the interviewees described being
      housed in a single room with others of the same gender. Some rooms contained twenty persons, others
      contained thirty or up to fifty. On the first day we were there, CBP officials provided us with a list of
      over 350 persons in custody. The next day, we were told by officials that perhaps one hundred had been
      moved to a different location. This information was consistent with the information we received from
      some interviewees who reported that all of a sudden, the rooms they were in were no longer as crowded.
      There still are not enough beds for everyone. Many children have to sleep on the floor.


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                                    6. Some of the children detained without parents were as young as 2, 3, and
       4 years old. It was up to older children in the same room to care for these very young children out of
       kindness. On the first day, I walked into a larger meeting room that was being used by two other team
       members to conduct interviews. I saw that one girl about seven years old was crying. The interviewer
       walked her to the other side of the room to an older girl who had a toddler (perhaps two years old) on
       her lap. The older girl hugged the seven year old and comforted her. I found out later on from my
       colleagues that the older girl was not a mother. She had taken responsibility for the two year old and
       seven year old out of kindness, and they had bonded with her.

   7. The children are confined to their rooms all day long, except when the room is cleaned or when they
      must go the bathroom. Two seventeen year old boys reported that they were able to go outside to play
      every day for twenty to sixty minutes. Younger kids reported that they were not able to go outside to
      play on a daily basis. The reported that they could only go outside every two or three days to play.

   8. None of the children I interviewed knew what was happening in terms of the possibility of release. All
      of the ones I interviewed, except for the five year old boy, had contact information for relatives in the
      United States readily available.

   9. Siblings of different gender are not housed together. They only get to see each other during meals, and
      then it is at a distance. Two brothers I interviewed (ages 12 and 4) are particularly close emotionally.
      The 4-year-old has a learning disability and is very dependent on his older brother. The younger brother
      has a speech impediment and is very difficult to comprehend. The older brother often has to explain
      what the younger brother is saying. The older brother has taken care of the younger brother since the
      younger brother was nine months old.



I, Bill Ong Hing, swear under penalty of perjury that the above declaration is true and complete to the best of
my abilities.


                                             __June 26, 2019_______________
                                             Date
__________________________
Bill Ong Hing
University of San Francisco School of Law
2199 Fulton Street
San Francisco, CA 94117




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